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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )        Case No. 05-20017
                                                  )
MIGUEL ROMERO,                                    )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Miguel Romero wrote a letter to this court, received on September 17,

2009, which has been filed as a Motion for Extension of Time (doc. #307) asking for a

180-day extension of time to file a petition under 28 U.S.C. § 2255. The one-year

deadline for filing a § 2255 petition was set by Congress, and “any extension of this time

period contravenes Congress’ clear intent to accelerate the federal habeas process.”

Washington v. United States, No. 99-3383, 2000 WL 985885, at * 1 (10th Cir. July 18,

2000); see also United States v. Duffus, 174 F.3d 333, 337-38 (3d Cir. 1999) (approving

denial of motion to amend habeas petition to add new claims because

       it would have frustrated the intent of Congress that claims under 28 U.S.C.
       § 2255 be advanced within one year after a judgment of conviction
       becomes final unless any of the other circumstances in 28 U.S.C. § 2255
       are applicable.... We reiterate that if the court permitted the amendment it
       would have acted contrary to the policy of the AEDPA, which requires
       courts to measure the running of the limitations periods from the date on
       which the judgment of conviction becomes final);
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United States v. Akers, No. 04-20089, 2008 WL 5109769, at *1 (D. Kan. Dec. 2, 2008).

Such judicial intervention is justified only under “extraordinary” or “rare and

exceptional” circumstances. Washington, 2000 WL 985885, at *2 (citing United States

v. Willis, 202 F .3d 1279, 1281 n.3 (10th Cir. 2000)). “[A]lthough the time limitation

under § 2255 is subject to equitable tolling, it is clear that the mere allegation of inability

of a prisoner to gather facts or gain access to documents due to lockdown status does not

justify equitable tolling.” Hunter v. Davis, No. 09-0827, 2009 WL 1810840, at *1 (D.

Colo. June 24, 2009) (citation omitted).



       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion

for an extension of time to file a petition under § 2255 (doc. #307) is denied.


       IT IS SO ORDERED this 30th day of September, 2009.


                                      s/ John W. Lungstrum
                                      John W. Lungstrum
                                      United States District Judge




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